Case No. 1:22-cv-00581-CNS-NRN            Document 128-9       filed 02/27/24     USDC Colorado
                                           pg 1 of 10




                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLORADO

 Civil Action No. 1:22-cv-00581-CNS-NRN

 Colorado Montana Wyoming
 State Area Conference of the NAACP,
 League of Women Voters of Colorado, and
 Mi Familia Vota,

         Plaintiffs,

 v.

 United States Election Integrity Plan, Shawn Smith,
 Ashley Epp, and Holly Kasun,

         Defendants.



              PLAINTIFF COLORADO MONTANA WYOMING STATE AREA
                     CONFERENCE OF THE NAACP’S RESPONSE
                TO DEFENDANTS’ FIRST SET OF WRITTEN DISCOVERY


 TO:     Defendants above-names, and their attorneys of record, R. Scott Reisch, Jessica L. Hays,
         THE REISCH LAW FIRM, LLC, 1490 W. 121st Avenue, #202, Denver, CO 80234.

         Colorado Montana Wyoming State Area Conference of the NAACP (”NAACP”),

 for its Response to Defendants’ (“Defendants”) First Set of Written Discovery, states as

 follows:

                                   GENERAL OBJECTIONS

         NAACP objects generally to Defendants’ Discovery Requests on each of the following

 grounds:




                                                 1
 49696290v1
Case No. 1:22-cv-00581-CNS-NRN            Document 128-9         filed 02/27/24    USDC Colorado
                                           pg 2 of 10




         1.      NAACP objects to Defendants’ Discovery Requests to the extent that they seek

 discovery of:

                 a.     Information or documents subject to the attorney-client privilege, or to any
                        other privilege;

                 b.     Information or documents constituting the work product of NAACP or its
                        attorneys;

                 c.     Information generated or documents prepared in anticipation of litigation or
                        for trial by or for NAACP or its representatives.

         2.      NAACP objects to Defendants’ Discovery Requests to the extent they seek

 discovery of any information or document which is not in the possession or control of NAACP or

 which was not generated or obtained by NAACP in the regular course of its business.

         3.      NAACP objects to Defendants’ Discovery Requests insofar as they seek

 information which is not relevant or material to the issues of this lawsuit and which is not

 reasonably calculated to lead to the discovery of admissible evidence.

         4.      NAACP objects to Defendants’ Discovery Requests insofar as they seek discovery

 of any information or document already in the possession, custody or control of the Defendants.

         5.      NAACP objects to, and does not accept, the Defendants’ instructions. NAACP will

 respond to Defendants’ Discovery Requests in accordance with, and as required by, the Federal

 Rules of Civil Procedure.

         6.      NAACP objects to Defendants’ Discovery Requests to the extent they purport to

 impose obligations not imposed by the Federal Rules of Civil Procedure.

         7.      NAACP does not and will not waive any of its general or particular objections in

 the event it may furnish materials or information coming within the scope of any such objections.



                                                 2
 49696290v1
Case No. 1:22-cv-00581-CNS-NRN             Document 128-9         filed 02/27/24     USDC Colorado
                                            pg 3 of 10




         In addition to making the foregoing general objections, all of which are preserved, NAACP

 responds to each of Defendants’ Discovery Requests particularly as follows:



                                      INTERROGATORIES

 INTERROGATORY NO. 1: Have You or anyone acting on your behalf interviewed any
 individual concerning the allegations of voter intimidation made in the Complaint filed in this
 case?
 If so, for each individual states:
          a) the name, address, email address, and telephone number of the individual interviewed;
          b) the date of the interview;
          c) the name, address, email address, and telephone number of the person(s) who
              conducted the interview.

         ANSWER:        NAACP objects to this Interrogatory because it seeks information that is

 subject to the attorney-client privilege and work product doctrine. NAACP will identify any

 witnesses it intends to call at trial pursuant to the Federal Rules of Civil Procedure and any

 applicable scheduling order.



 INTERROGATORY NO. 2: Did you conduct any further investigation into the allegations outside
 of the articles and websites cited in Your pleadings. Provide a detailed description of all steps
 taken to corroborate these allegations including the names and contact information for any and all
 investigators utilized in the process of corroborating these serious allegations.

         ANSWER:        NAACP objects to this Interrogatory as overly broad and unduly

 burdensome in seeking “all” steps taken to corroborate the allegations in the Complaint. NAACP

 further objects to this Interrogatory because the terms “investigation” and “investigator” are vague,

 ambiguous, and undefined. Finally, NAACP objects to this Interrogatory because it seeks

 information that is subject to the attorney-client privilege and work product doctrine. Subject to

 and without waiving the foregoing objections, yes. Prior to commencing this action, Plaintiffs


                                                  3
 49696290v1
Case No. 1:22-cv-00581-CNS-NRN             Document 128-9         filed 02/27/24     USDC Colorado
                                            pg 4 of 10




 spoke with various witnesses and potential witnesses, including but not limited to members and

 supporters of their respective organizations who were concerned about Defendants’ past and

 potential future actions.   Plaintiffs also reviewed Defendants’ public statements concerning

 USEIP’s activities, including but not limited to the County & Local Organizing Playbook and

 Defendants’ statements on social media and at other events.

 INTERROGATORY NO. 3: Identify and provide a detailed description of all reports from voters
 that interacted with USEIP members, employees, or volunteers.

         ANSWER:        NAACP objects to this Interrogatory as overly broad and unduly

 burdensome in seeking “all” reports. NAACP further objects to this Interrogatory because the

 term “reports” is vague, ambiguous, and undefined. NAACP also objects to this Interrogatory

 because it seeks information with the possession and/or control of USEIP. Finally, NAACP

 objects to this Interrogatory because it seeks information protected by the attorney-client privilege

 and/or work product doctrine. Subject to and without waiving the foregoing objections, the

 NAACP has received reports from overs who were alarmed about receiving visits from USEIP

 and concerned that USEUP was intimating that they were appearing at voters’ doorsteps in an

 official capacity and/or carrying weapons while going door-to-door to voters’ homes.



 INTERROGATORY NO. 4: Identify the name, address, telephone number, and email address of
 every person or entity from whom You have received a complaint related to any of the actions of
 any of the defendants in this case or their alleged employees, agents, or volunteers.

         ANSWER: NAACP objects to this Interrogatory as overly broad and unduly burdensome

 in seeking information related to “every” person or entity.          NAACP also objects to this

 Interrogatory because the term “complaint” is vague, ambiguous, and undefined. Subject to and

 without waiving the foregoing objections, see Answer to Interrogatory No. 3.

                                                  4
 49696290v1
Case No. 1:22-cv-00581-CNS-NRN            Document 128-9      filed 02/27/24    USDC Colorado
                                           pg 5 of 10




  INTERROGATORY NO. 5: Identify the name, address, telephone number, and email address of
 every person or entity from whom You have received a report of positive interactions related to
 any of the actions of any of the defendants in this case or their alleged agents.

         ANSWER: NAACP objects to this Interrogatory because it seeks information that is

 subject to the attorney-client privilege and/or work product doctrine. Subject to and without

 waiving the foregoing objection, none.



 INTERROGATORY NO. 6: Identify and provide a detailed description of any and all instances
 where a voter has claimed that any alleged member of USEIP has done any of the following:
        a) Approached them or their home while armed;
        b) Represented that they are affiliated with a government entity (specify which
           government entity was claimed); or
        c) Threatened a voter with reprisal, criminal charges, or other consequences.

         ANSWER:       NAACP objects to this Interrogatory as overly broad and unduly

 burdensome in seeking a description of “any and all” instances. NAACP also objects to this

 Interrogatory because the phrase “where a voter has claimed” is vague and ambiguous. Subject to

 and without waiving the foregoing objections, see Answer to Interrogatory No. 3.




 INTERROGATORY NO. 7: Identify and provide a detailed description of any and all instances
 where USEIP or its agents have directed any person to carry a weapon during an interaction with
 a voter.

         ANSWER:       NAACP objects to this Interrogatory as overly broad and unduly

 burdensome in seeking a description of “any and all” instances. NAACP also objects to this

 Interrogatory because it seeks information that is already within Defendants’ possession and/or

 control.


                                                5
 49696290v1
Case No. 1:22-cv-00581-CNS-NRN             Document 128-9        filed 02/27/24     USDC Colorado
                                            pg 6 of 10




 INTERROGATORY NO. 8: Identify and describe in detail the activities You have undertaken to
 actively monitor the “intimidation and related safety concerns” described in Paragraph 36 of the
 Complaint in this action. Specifically address personnel and financial resources that have been
 shifted as a result of the activities of USEIP.

          ANSWER:       In direct response to USEIP’s voter intimidation campaign, NAACP has

 developed a new digital media campaign aimed at educating voters and combatting USEIP’s voter

 intimidation efforts. The digital media campaign includes outreach and communications via

 Twitter, Instagram, Facebook, as well as newsletters. NAACP has also devoted significant

 resources to countering USEIP’s actions at voters’ doors by proactively educating voters about

 their right to vote in the hopes that they will not be dissuaded from exercising their right to vote

 following a visit from USEIP.     In addition, NAACP has done additional outreach to Colorado

 communities to ensure that voters have resources and know who to call for assistance if they are

 visited by USEIP and feel intimidated or have questions about their rights. Finally, in order to

 carry out the aforementioned digital media campaign, community education, and community

 outreach, NAACP spent significant resources recruiting additional volunteers.



 INTERROGATORY T NO. 9: Specifically identify the communities or neighborhoods that have
 been targeted by USEIP’s “operation” as claimed in Paragraph 27 of your Complaint.

          ANSWER:       NAACP objects to this Interrogatory because it seeks information that is

 already in Defendants’ possession and/or control. Subject to and without waiving the foregoing

 objection, see documents produced by Jeff Young and the deposition testimony provided by Jeff

 Young.



                                                  6
 49696290v1
Case No. 1:22-cv-00581-CNS-NRN            Document 128-9         filed 02/27/24   USDC Colorado
                                           pg 7 of 10




                     REQUEST FOR PRODUCTION OF DOCUMENTS

 REQUEST NO. 1: Any and all correspondence, internal or external, related to the activities of
 USEIP and their alleged employees, agents, or volunteers.

         RESPONSE: NAACP objects to this Request as overly broad and unduly burdensome in

 seeking “any and all “ correspondence. NAACP also objects to this Request to the extent it seeks

 communications protected by the attorney-client privilege. Subject to and without waiving the

 foregoing objection, NAACP will produce responsive documents, subject to a protective order, at

 a time and place mutually agreeable to counsel.



 REQUEST NO. 2: Any and all emails, text messages, phone call logs, or other Documentation
 pertaining to communication between You and any and all persons or entities regarding the subject
 matter of this lawsuit.

         RESPONSE: NAACP objects to this Request as overly broad and unduly burdensome in

 seeking “any and all” emails, text messages, phone call logs, or other Documentation pertaining

 to communication with “any and all” persons or entities. NAACP also objects to this Request to

 the extent it seeks communications protected by the attorney-client privilege. Subject to and

 without waiving the foregoing objection, NAACP will produce responsive documents, subject to

 a protective order, at a time and place mutually agreeable to counsel.


 REQUEST NO. 3: Any and all reports generated from complaints related to the activities of
 USEIP.

         RESPONSE: NAACP objects to this Request as overly broad and unduly burdensome in

 seeking “any and all” reports. NAACP also objects to this Request because the term “reports” is

 vague, ambiguous, and undefined. Subject to and without waiving the foregoing objection,



                                                   7
 49696290v1
Case No. 1:22-cv-00581-CNS-NRN             Document 128-9        filed 02/27/24      USDC Colorado
                                            pg 8 of 10




 NAACP will produce responsive documents, subject to a protective order, at a time and place

 mutually agreeable to counsel.



         I, Portia Prescott, declare under penalty of perjury that the foregoing answers to
 interrogatories is true and correct.

 Dated: October 21, 2022.                              /s/Portia Prescott
                                                                  Portia Prescott
 As to Objections Only:

 Dated: October 21, 2022                       LATHROP GPM LLP

                                               By /s/ Amy E. Erickson
                                               Casey Breese (#51448)
                                               Casey.breese@lathropgpm.com
                                               Jean Paul Bradshaw
                                               Jeanpaul.bradshaw@lathropgpm.com
                                               Dion Farganis (Admission Pending)
                                               Dion.farganis@lathropgpm.com
                                               Reid Day
                                               Reid.day@lathropgpm.com
                                               Brian A. Dillon
                                               Brian.dillon@lathropgpm.com
                                               Amy Erickson (#54710)
                                               Amy.erickson@lathropgpm.com
                                               1515 Wynkoop Street, Suite 600
                                               Denver, CO 80202
                                               Telephone: (720) 931-3200




                                                  8
 49696290v1
Case No. 1:22-cv-00581-CNS-NRN   Document 128-9    filed 02/27/24   USDC Colorado
                                  pg 9 of 10




                                   Courtney Hostetler
                                   chostetler@freespeechforpeople.org
                                   John Bonifaz
                                   jbonifaz@freespeechforpeople.org
                                   Ben Clements
                                   bclements@freespeechforpeople.org
                                   Ron Fein
                                   rfein@freespeechforpeople.org
                                   FREE SPEECH FOR PEOPLE
                                   1320 Centre Street, Suite 405
                                   Newton, MA 02459
                                   Telephone: (617) 249-3015

                                   ATTORNEYS FOR Plaintiffs Colorado Montana
                                   Wyoming State Area Conference of the NAACP,
                                   League of Women Voters of Colorado, and
                                   Mi Familia Vota




                                      9
 49696290v1
Case No. 1:22-cv-00581-CNS-NRN            Document 128-9        filed 02/27/24     USDC Colorado
                                           pg 10 of 10




                                 CERTIFICATE OF SERVICE


        I hereby certify that on October 21, 2022, I electronically served the foregoing by
 emailing to the below mentioned persons at their last known email addresses as follows:

  Jessica Lynn Hays                   jessica@reischlawfirm.com
  R. Scott Reisch                     scott@reischlawfirm.com; cassandra@reischlawfirm.com;
                                      Matthew@reischlawfirm.com, Rob@reischlawfirm.com


                                              s/Amy Erickson




                                                10
 49696290v1
